Case 1:06-cr-00378-WMS Document 3 Filed 10/30/06 Page 1 of 12
Case 1:06-cr-00378-WMS Document 3 Filed 10/30/06 Page 2 of 12
Case 1:06-cr-00378-WMS Document 3 Filed 10/30/06 Page 3 of 12
Case 1:06-cr-00378-WMS Document 3 Filed 10/30/06 Page 4 of 12
Case 1:06-cr-00378-WMS Document 3 Filed 10/30/06 Page 5 of 12
Case 1:06-cr-00378-WMS Document 3 Filed 10/30/06 Page 6 of 12
Case 1:06-cr-00378-WMS Document 3 Filed 10/30/06 Page 7 of 12
Case 1:06-cr-00378-WMS Document 3 Filed 10/30/06 Page 8 of 12
Case 1:06-cr-00378-WMS Document 3 Filed 10/30/06 Page 9 of 12
Case 1:06-cr-00378-WMS Document 3 Filed 10/30/06 Page 10 of 12
Case 1:06-cr-00378-WMS Document 3 Filed 10/30/06 Page 11 of 12
Case 1:06-cr-00378-WMS Document 3 Filed 10/30/06 Page 12 of 12
